'                  '
    ;
        .                                                x                                                    %
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                                              UNITED STATES DISTRJCT COURT
                                              SOU TH ERN D ISTRICT OF FLOR ID A

                                             CA SE N O .21-20324-CR-M A RTTN EZ

            '      UN ITED STA TES OF A M ERICA                   .

                           Plaintiff,
                  VS.

                   CA RT,O S R .SA EZ D OR TA ,eta1.

                          Defendantts).
                                                              /

                                                  O RD ER G R AN TIN G
                                          DEFEND AN T 'S M O TIO N T O C O NT IN U E

                         THISCAUSE camebeforetheCourtupontheDefendant'sM otionto ContinueIDE:
                   1061.TheCourthavingreviewedtheissuesathandandbeingothem isefullyadvisedinthe
                  prem ises

                         Aftercaref'ulconsideration,theCourtfindsthattheendsofjusticewillbeservedby a
                  continuanceofthetrialasto theDefendaht'sassetforthbelow,atldthatan extension outweighs

                  theinterestofthepublicandtheDefendantsin a speedy trial.Therefore,itis

                         ORDERED AND ADJUDGED thatacontinuanceisGM NTED.

                         Thepreviouscalendarcallandtrialdateare CANCELLED .Trialin thiscauseisreset

                  dtlring thetwo-week trialperiod starting on M ondav.February 28.2022 at9:30 a.m .,atthe

                  United StatesCourthouse,Courtroom 10-1,400Nol'th M iamiAvenue,M iam i,Florida. Calendar

                  Callw illbe held on Thursday.February 24.2022 at 1:30 p.m .atthe sam e location. A 1l

                  counselm ustbe presentatthe calendarcall.
                         TheCourtfindsthattheperiodofdelayf'
                                                           rom January27,2022toFebruary28,2012,and
                  any othertrialdatesethereafterisexcludablein ealculating theperiodwithin which trialm ust
            '

                  commenceinaccordancewiththeprovisionsoftheSpeedyTrialAct,18U.S.C.j161(h)(7)(A).
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  Partiesshallfiletheirjointproposedjuryinstructionsaswellajverdictformsandproposedvoir
  dire questions ifany,one week priorto calendarcall. Foral1otherpretrialdeadlines,the parties

  shallrefertotheCourt'sschedulingordersIDE:15,DE:621forapplicabledeadlines.
         Therewillbenom ore continuancesgranted in thismatterabsentexigentcircum stances.
         DONE AND ORDERED in ChambersatM iam i,Florida,this1Stday ofFebruaty,2022.


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                                                      ITED STA TES D ISTR IC        DGE

  cc:Al1CounselofRecord
     U .S.Probation Office
